                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ZHU ZHAI HOLDINGS LIMITED and                 )
PETER PUI TAK LEE,                            )
                                              ) Case No. 20-cv-04985
       Plaintiffs/Judgement Creditors,        )
                                              ) Judge Sharon Johnson Coleman
       v.                                     )
                                              ) Hon Sidney I. Schenkier (Ret.),
STEVEN IVANKOVICH,                            )   Special Master
                                              )
       Defendant/Judgement Debtor             )

                             SPECIAL MASTER’S ORDER NO. 1

       On August 17, 2021, the presiding district judge entered a default judgment in favor of

plaintiffs Zhu Zhai Holdings Limited and Peter Pui Tak Lee (“plaintiffs”) and against Seven

Ivankovich (“defendant”) in the amount of $4,503,842 (doc. # 92). Post judgement proceedings

to collect on the judgment ensued and remain ongoing.

       By an order dated January 19, 2014, the presiding district judge appointed the undersigned

to serve as Special Master “for the purpose of hearing and resolving issues and disputes related to

the parties’ post-judgment discovery proceedings, as identified in Plaintiffs’ pending post-

judgment motions, Dkts 276, 285” (doc. # 290: Order Appointing Special Master (“Appointment

Order”) at ¶ 1). Pursuant to that mandate, the district judge directed the Special Master to address

“issues related to but not limited to the parties’ post-judgment discovery proceedings, the discovery

produced thus far, and the location and amount of Judgment Debtor Ivankovich’s assets” (Id.).

       On March 19, 2024 (Appointment Order at ¶ 3), the Special Master convened a status

hearing by Zoom in the matter. Counsel for plaintiffs and defendant attended the hearing, as well

as counsel for Pilgrim Warwick LLC, Pilgrim Coulter LLC, Pilgrim Windtree LLC, Pilgrim

Carribean Isle LLC, and Pilgrim Forest Park LLC (collectively, the “Third Party LLCs”). Pursuant
to the Appointment Order, the hearing was court reported and a transcript of the hearing (along

with this Order) will be docketed. Based on the discussion with the parties at the hearing, the

Special Master issues the following order:

       1. There is a dispute as to whether plaintiffs’ counsel has a complete listing of all financial

institutions or other entities from which defendant had the ability to transfer funds for the period

from January 1, 2019, through the present. Accordingly, by April 2, 2024, defendant and the

Third Party LLCs shall deliver to plaintiffs’ counsel and file on the court docket an identification

of each such institution or entity with detail sufficient to permit the service of subpoenas on them.

Defendant, and the person for the Third Party LLCs responsible for the search, shall file

declarations describing what they did to search for the information and attesting that they have

produced all such information they have located.

       2. Upon receipt of the foregoing information, plaintiffs’ counsel shall promptly serve

subpoenas on the identified institutions and entities seeking records showing for the time period

set forth above any transfers or withdrawal of funds by defendant.

       3. The matter is set for a further status hearing by Zoom on May 1, 2024, at 10:00 a.m.

C.T. The parties shall file a joint status report by 5:00 p.m. on April 29, 2024, which sets forth

the status of obtaining the foregoing records and any other matters they wish to address with the

Special Master at the May 1 hearing. At that hearing, the Special Master will address – among

other things -- the question of the need for an evidentiary hearing.

Entered:



___________________________________
HON. SIDNEY I. SCHENKIER (RET.)
Special Master
March 19, 2024



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